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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

In re:
                                                         Chapter 11
POLARIS OPERATING, LLC, et al.,
                                                         Case No. 23-32810
                Debtors.1
                                                         (Jointly Administered

            OBJECTION TO DEBTORS’ EMERGENCY MOTION
          FOR (A) ENTRY OF AN ORDER (I) APPROVING BIDDING
  PROCEDURES; (II) APPROVING PROCEDURES FOR THE ASSUMPTION AND
  ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES; (III)
    APPROVING STALKING HORSE PROTECTIONS; (IV) SCHEDULING BID
DEADLINE, AUCTION DATE, AND SALE HEARING DATE; (V) APPROVING FORM
OF NOTICE THEREOF; (B) ENTRY OF AN ORDER AFTER THE SALE HEARING (I)
AUTHORIZING THE DEBTORS TO SELL THEIR ASSETS; AND (II) AUTHORIZING
 THE DEBTORS TO ASSUME AND ASSIGN CERTAIN EXECUTORY CONTRACTS
 AND UNEXPIRED LEASES; AND (C) GRANTING RELATED RELIEF [Doc. No. 211]

         Black Oak Partners LLC (“Black Oak”), hereby files this Objection (the “Objection”) to

the Emergency Motion for (A) Entry of an Order (I) Approving Bidding Procedures; (II)

Approving Procedures for the Assumption and Assignment of Executory Contracts and Unexpired

Leases; (III) Approving Stalking Horse Protections; (IV) Scheduling Bid Deadline, Auction Date,

and Sale Hearing Date; (IV) Approving Form of Notice Thereof; (B) Entry of an Order After the

Sale Hearing (I) Authorizing the Debtors to Sell Their Assets; and (II) Authorizing the Debtors to

Assume and Assign Certain Executory Contract and Unexpired Leases; and (C) Granting Related

Relief [Doc. No. 211] (the “Sale Motion”) filed by the Debtors. In support of its Objection, Black

Oak would show the Court as follows:




1
 The debtors and debtors-in-possession in these chapter 11 cases, along with the last four digits of
their respective Employer Identification Numbers, are as follows: CCCB Energy Partners, LLC
(5918), Polaris Operating, LLC (9852), NAP I, LLC (6767), and Cottonwood Gas Gathering, LLC
(8983). The debtors’ service address is 5944 Luther Lane, Suite 400, Dallas, TX 75225.
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       1.      On July 28, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of Texas, Houston Division.

       2.      Debtor CCCB Energy Partners, LLC (“CCCB”) is a member of WGU Energy, LLC

(“WGU”). See Doc. No. 138 at Pg. 4. CCCB’s equity interest in WGU is defined in the Sale

Motion as the “WGU Waterflood Assets”.

       3.      Black Oak is a member of WGU.

       4.      The membership rights of CCCB and Black Oak in WGU, together with all other

members, are governed by that certain First Amended and Restated Operating Agreement of WGU

Energy, LLC, effective February 1, 2022 (the “Operating Agreement”).

       5.      Article 7 of the Operating Agreement conditions and qualifies a member’s right to

transfer membership units. Section 7.3 of the Operating Agreement provides right of first refusal

procedures for non-transferring members.

       6.      On November 16, 2023, the Debtors filed the Sale Motion.

       7.      The Sale Motion seeks, among other things, to establish a sales process for the

WGU Waterflood Assets.

       8.      The Operating Agreement’s transfer restrictions of the WGU Waterflood Assets

are fully enforceable against the Debtors in this instant bankruptcy proceeding. In re Wilson, No.

11-50396, 2014 WL 3700634 (Bankr. N.D. Tex. July 24, 2014); See, e.g., In re Kramer, BAP NO-

21-005, 2022 WL 17176411, at *8 (B.A.P. 10th Cir. Nov. 23, 2022) (holding that operating

agreement transfer restrictions prohibited a bankruptcy trustee from selling membership interests

owned by the debtor).
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       9.     Black Oak does not generally object to the Sales Motion. However, Black Oak

objects to the extent the Sale Motion seeks to alter or extinguish any right that it, WGU, or any

other member of WGU, has pursuant to the Operating Agreement, other governing documents, or

applicable law, to object to any proposed sale or transfer of the WGU Waterflood Assets.

       WHEREFORE, Black Oak Partners LLC respectfully requests this Court enter an order (a)

preserving any and all rights that it, WGU, or any other member of WGU, has pursuant to the

Operating Agreement, other governing documents, or applicable law, to object to any proposed

sale or transfer of the WGU Waterflood Assets, and (b) granting such other and further relief as

the Court deems appropriate.

                                                PHILLIPS MURRAH P.C.

                                                /s/ Jason A. Sansone
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                                                Attorneys for Black Oak Partners LLC

                                 CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on November 20, 2023, the foregoing was served
upon all counsel of record via the Court’s CM/ECF system.

                                                /s/ Jason A. Sansone
                                                Jason A. Sansone (Okla. Bar No. 30913)
